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                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF ILLINOIS
                             URBANA DIVISION
____________________________________________________________________________

UNITED STATES OF AMERICA,                      )
                                               )
                      Plaintiff,               )
              v.                               )          Case No. 23-CR-20055
                                               )
SERGIO BUCIO ACOSTA,                           )
                                               )
                       Defendant.              )


      ORDER APPROVING MAGISTRATE JUDGE’S RECOMMENDATION


       On March 27, 2024, a Report and Recommendation (#61) was filed by United

States Magistrate Judge Eric I. Long in the above cause. More than fourteen (14) days

have elapsed and no objections have been made. This court therefore accepts the

recommendation of the Magistrate Judge. Accordingly, Defendant Sergio Bucio

Acosta’s plea of guilty as to Counts 1 through 5 of the Indictment (#42) is accepted and

Defendant is adjudged guilty on those counts. The court orders that a pre-sentence

investigation is to be prepared. A sentencing hearing remains set for July 29, 2024, at

1:30 pm before this court.

                   ENTERED this 15th day of April, 2024.

                     s/ Colin Stirling Bruce
                      COLIN S. BRUCE
                      U.S. DISTRICT JUDGE
